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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

 ALABAMA STATE CONFERENCE
 OF THE NAACP, et al.,

                     Plaintiffs,               Case No. 2:21-cv-01531-AMM
                        v.

 WES ALLEN, in his official capacity
 as Alabama Secretary of State,

                     Defendant.


               JOINT STATEMENT OF UNDISPUTED FACTS

      Pursuant to this Court’s September 16, 2024 Order Setting Trial, Pretrial

Conference, and Pretrial Deadlines, ECF No. 180, the parties in the above captioned

case submit the following joint statement of undisputed facts that are stipulated for

purposes of trial:

I.    Plaintiffs

      A. The Alabama State Conference of the N.A.A.C.P. (“Alabama
         NAACP”)
      1.      Plaintiff Alabama NAACP is the state conference of the National

Association for the Advancement of Colored People, Inc. The Alabama NAACP is

the oldest, and considers itself one of the most significant, civil rights organizations

in Alabama.


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      2.     The Alabama NAACP works to advance its vision of political,

educational, social, and economic equality of Black Americans and all other

Americans and the Alabama NAACP regularly engages in efforts to register and

educate voters and encourage Black people to engage in the political process by

turning out to vote.

      3.     The Alabama NAACP states that two of its central goals are to

eliminate racial discrimination in the democratic process, and to enforce federal laws

and constitutional provisions securing voting rights.

      B. Greater Birmingham Ministries (“GBM”)

      4.     Plaintiff GBM was founded in 1969 in response to the challenges posed

by the mid-twentieth century Civil Rights movement and its transformative impact

in Birmingham, Alabama, and across the United States. GBM describes itself as a

multi-faith, multi-racial, non-profit membership organization that provides

emergency services to people in need and engages people to build a strong,

supportive, engaged community and a more just society for all people.

      5.     GBM describes itself as dedicated to advancing social justice through

political participation across Alabama. GBM states that it actively opposes state

laws, policies, and practices that it believes result in the exclusion of vulnerable

groups or individuals from the democratic process.




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        6.      GBM states that to accomplish its goals, it regularly communicates with

its members and works to register, educate, and increase voter turnout and efficacy,

particularly among Black, Latinx, and low-income people and people with

disabilities.

        C. Evan Milligan

        7.      Plaintiff Evan Milligan is Black.

        8.      Plaintiff Evan Milligan resides in Montgomery, Alabama.

        9.      Plaintiff Evan Milligan is a U.S. citizen and a lawfully registered voter

in State Senate District 26.

II.     Defendants (current and former)

      A. Current Defendant Wes Allen

        10.     Hon. Wes Allen is the Alabama Secretary of State and the chief

elections official in the State of Alabama. Secretary Allen is sued in his official

capacity. He was born in 1975.

        11.     Secretary Allen provides uniform guidance for election activities in the

State and issues certificates of election to Members of the Alabama Legislature. Ala.

Code §§ 17-1-3, 17-12-21. Secretary Allen also has responsibility for certifying the

names of primary and general election candidates for the State Legislature. Ala.

Code §§ 17-13-5(b), 17-9-3(b).




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   B. Former Defendants Sen. Jim McClendon and Rep. Chris Pringle

      12.    Former Defendants Senator Jim McClendon and Representative Chris

Pringle were Senate and House Chairs of the Alabama Permanent Legislative

Committee on Reapportionment (“the Committee”), respectively, during the 2021

redistricting cycle. Ala. Code § 29-2-51. They were sued in their official capacity as

Senate and House Chairs of the Committee.

      13.    As Senate and House Chairs, Sen. McClendon and Rep. Pringle led the

Committee, which was responsible for the preparation and development of

redistricting plans for the State following the decennial census and presided over the

meetings of the Committee.

      14.    The Committee was tasked with making a “continuous study of the

reapportionment problems in Alabama seeking solutions thereto” and reporting its

investigations, findings, and recommendations to the Legislature as necessary for

the “preparation and formulation” of redistricting plans for the Senate, House, State

School Board, and congressional districts in the State of Alabama. Ala. Code §§ 29-

2-51, 29-2-52.

      15.    As Senate Chair of the Committee, Senator McClendon had a lead role

in carrying out the process of drawing the Alabama State Senate Map in 2021.




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        16.     Senator McClendon delegated to Randy Hinaman responsibility for the

actual drawing of the 2021 Alabama State Senate map in accordance with his

instructions.

III.    The Process Leading to the Enactment of S.B. 1

   A. Joint Legislative Committee’s Stated Redistricting Criteria

        17.     On May 5, 2021, the Permanent Legislative Committee on

Reapportionment (the “Committee”)—the Committee responsible for preparing and

developing redistricting plans for the State following each decennial census—

enacted guidelines for the 2021 redistricting cycle.

        18.     The guidelines state that they are based on the requirements of the U.S.

Constitution, Alabama Constitution, and policies that “are embedded in the political

values, traditions, customs, and usages of the State of Alabama.”

        19.     The criteria for redistricting set by the Committee begin with

requirements under the U.S. Constitution and federal law, including compliance with

the one-person, one-vote requirement. The Committee instructed that state

legislative districts “shall be drawn to achieve substantial equality of population

among the districts and shall not exceed an overall population deviation range of

±5%,” and must comply with Section 2 of the Voting Rights Act, meaning that

districts have “neither the purpose nor the effect of diluting minority voting

strength.”


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       20.      The Committee stated that districts cannot be drawn “in a manner that

subordinates race-neutral districting criteria to considerations of race, color, or

membership in a language minority group, except that race, color, or membership in

a language-minority group may predominate over race-neutral districting criteria to

comply with Section 2 of the Voting Rights Act, provided there is a strong basis in

evidence in support of such a race-based choice.”

       21.      Each district must also be “contiguous and reasonably compact,” under

the criteria.

       22.      The criteria next require compliance with the Alabama Constitution,

including that:

                a.    Districts are “drawn to reflect the democratic will of all the

                      people   concerning    how    their   governments     should   be

                      restructured”;

                b.    Districts are drawn based on total population except that voting-

                      age population may be considered to comply with Section 2 of

                      the Voting Rights Act and other laws;

                c.    The number of Senate districts is set at 35 and House districts at

                      105;

                d.    All districts must be single-member districts; and

                e.    All districts must be contiguous with each other.


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      23.    The criteria require compliance with redistricting policies that are

“embedded in the political values, traditions, customs, and usages of the State of

Alabama . . . to the extent that they do not violate or subordinate the foregoing

policies prescribed by the Constitution and laws of the United States and of the State

of Alabama,” including:

             a.    Avoiding contests between incumbents where possible;

             b.    Permitting contiguity by water but not point-to-point or long-

                   lasso contiguity;

             c.    Respect for “communities of interest, neighborhoods, and

                   political subdivisions to the extent practicable,” with a

                   community of interest “defined as an area with recognized

                   similarities of interests, including but not limited to ethnic, racial,

                   economic, tribal, social, geographic, or historical identities.”

             d.    Minimization of the number of counties in each district; and

             e.    Preservation of the cores of existing districts.

      24.    The Committee’s Redistricting Guidelines stated that “In establishing

legislative districts, the Reapportionment Committee shall give due consideration to

all the criteria herein. However, priority is to be given to the compelling State

interests requiring equality of population among districts and compliance with the




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Voting Rights Act of 1965, as amended, should the requirements of those criteria

conflict with any other criteria.”

      B.     The 2021 Legislative Process for Redistricting

      25.    On August 12, 2021, the U.S. Census Bureau released the results of the

2020 Census.

      26.    After the Census data were released, Senator McClendon worked with

Senators to develop new Senate districts.

      27.    The Permanent Legislative Committee on Reapportionment (the

Committee) consists of members of both the State House and Senate, with the

Speaker of the House appointing one House member from each of the seven

Congressional districts and four additional House members, and the Lieutenant

Governor appointing one Senator from each of the seven Congressional districts and

four additional Senators. See Ala. Code § 29-2-51(c).

      28.    The 2021 Committee included 21 members—15 white Republican

members and six Black Democratic members.

      29.    The first public meeting was held on May 5, 2021, when the Committee

adopted redistricting guidelines.

      30.    All Committee meetings were required to be open to the public. The

Committee guidelines provide that “All interested persons are encouraged to appear

before the Reapportionment Committee and to give their comments and input


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regarding legislative redistricting. Reasonable opportunity will be given to such

persons, consistent with the criteria herein established, to present plans or

amendments redistricting plans to the Reapportionment Committee, if desired,

unless such plans or amendments fail to meet the minimal criteria herein

established.”

      31.    Between September 1 and 16, the Committee held 28 public hearings

across the State.

      32.    Every hearing, except one that was held at 6:00 pm at the Statehouse in

Montgomery, was held between the hours of 9:00 am and 5:00 pm. Remote access

was provided for the hearings.

      33.    Governor Kay Ivey called the Special Legislative Session on

redistricting in Alabama to begin on October 28, 2021.

      34.    On October 26, 2021, the Committee held its third public meeting of

this redistricting cycle, which commenced in 2020.

      35.    A member of the Committee, Rep. Chris England, a Black legislator,

published the proposed maps on Twitter on October 25, 2021.

      36.    The Committee released the maps to the public on the day of the

October 26, 2021, Committee meeting.




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       37.       Beyond the Committee, the Committee House or Senate Chairs, their

staff, and/or mapdrawer Randolf Hinaman met with each incumbent legislator or

their staff either in person or online unless the legislator declined to meet.

       38.       During the map-drawing process, individual legislators generally

viewed and provided feedback on draft maps of their districts and adjoining districts,

not maps of the entire state.

       39.       Sen. McClendon explained that the Committee’s lawyer Dorman

Walker told him that racial-polarization analysis was only done by Dr. M.V. “Trey”

Hood III for state legislative districts where “it looked like there might possibly be

a racial issue.”

       40.       No racial-polarization analysis for any districts was conducted by

Dr. Hood and provided to Committee members before or during the October 26,

2021, meeting.

       41.       Committee members received demographic and population data for

each district.

       42.       Neither Mr. Walker nor Dr. Hood, who conducted racial-polarization

analysis for the state legislative districts, attended the Committee meeting on

October 26, 2021.




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        43.   Rep. Laura Hall, a Black Committee member, moved to postpone any

vote on the proposed maps until the Committee members and the public had more

time to review the maps and accompanying racial-polarization analysis.

        44.   The House and Senate Maps drawn by Randolf Hinaman and presented

by the House and Senate Chairs passed out of Committee.

        45.   Black members of the Committee, all of whom are Democrats, voted

against each of the House and Senate Maps drawn by Randolf Hinaman and

presented by the House and Senate Chairs.

        46.   The Special Legislative Session for redistricting began two days later,

on October 28, 2021.

        47.   On November 1, 2021, the full Senate considered the State Senate map,

and passed the map along racial and party lines.

        48.   Governor Ivey signed the State Senate map into law on November 4,

2021.

IV.     Characteristics of the Enacted 2021 Alabama State Senate Plan

        49.   The Enacted Plan splits 100 census places (i.e., cities, town, and census-

designated places).

        50.   The Enacted Plan splits 13 voting districts (VTDs).

        51.   The Enacted Plan splits 19 counties.




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        52.     The mean Reock compactness score for districts in the Enacted Plan is

0.41.

        53.     The mean Polsby-Popper compactness score for districts in the Enacted

Plan is 0.26.

        54.     The mean Convex Hull compactness score for districts in the Enacted

Plan is 0.74.

        55.     The lowest Reock compactness score for a single district in the Enacted

Plan is 0.19, for SD12.

        56.     The lowest Polsby-Popper compactness score for a single district in the

Enacted Plan is 0.12, for SD11 and SD22.

        57.     The lowest Convex Hull compactness score for a single district in the

Enacted Plan is 0.54, for SD22.

        58.     The Reock compactness score for SD7 in the Enacted Plan is 0.26.

        59.     The Polsby-Popper compactness score for SD7 in the Enacted Plan is

0.14.

        60.     The Convex Hull compactness score for SD7 in the Enacted Plan is

0.59.

        61.     In the Enacted Plan, Alabama A&M University is contained within

SD8.

        62.     The Reock compactness score for SD25 in the Enacted Plan is 0.24.


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        63.   The Polsby-Popper compactness score for SD25 in the Enacted Plan is

0.14.

        64.   The Convex Hull compactness score for SD25 in the Enacted Plan is

0.65.

        65.   In the Enacted Plan, SD25 spans three counties: Crenshaw,

Montgomery, and Elmore.

        66.   In the Enacted Plan, the town of Pike Road is split between SD25 and

SD26.

V.      Other Stipulated Facts

        67.   Prior to 1960, the Legislature failed to reapportion for 50 years. As a

result, Alabama’s entire legislative apportionment scheme was struck down in

Reynolds v. Sims, 377 U.S. 533 (1964), which held “that, as a basic constitutional

standard, the Equal Protection Clause requires the seats in both houses of a bicameral

state legislature must be apportioned on a population basis[,]” id. at 568. On remand,

a three-judge court found that, in devising remedial maps to correct the

malapportionment, the “Legislature intentionally aggregated predominantly Negro

counties with predominantly white counties for the sole purpose of preventing the

election of Negroes to [State] House membership.” Sims v. Baggett, 247 F. Supp.

96, 108-109 (M.D. Ala. 1965).




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      68.    Following Reynolds and the 1970 Census, a three-judge federal court

drew new district lines. Sims v. Amos, 336 F. Supp. 924, 940 (M.D. Ala. 1972). The

court rejected the proposed map of Alabama Secretary of State Mabel Sanders Amos

because of its racially “discriminatory effect” on Black voters. Id. at 936.

      69.    After the 1990 census, the State entered a consent decree to resolve a

Voting Rights Act lawsuit filed on behalf of Black voters. See Brooks v. Hobbie, 631

So.2d 883, 884 (Ala. 1993) (addressing a certified question about whether the State

trial court had authority to approve a consent judgment, but not explaining why the

parties desired such a judgment).

      70.    After the 2010 census, Black voters and legislators successfully

challenged 12 state legislative districts as unconstitutional racial gerrymanders. See

Ala. Legis. Black Caucus v. Alabama, 231 F. Supp. 3d 1026, 1348-49 (M.D. Ala.

2017). Because Alabama was still required to preclear its districting under Section 5

of the VRA at the time, it had an obligation to “avoid retrogressing the ability of

black voters to elect candidates of their choice.” Id. at 1032. To that end, “Alabama

pursued a policy of keeping the black population in each majority-black district at

or above the percentage in that district in 2010.” Id. at 1050. The ALBC plaintiffs’

challenges to other districts failed.

      71.    Most recently, a three-judge panel preliminarily enjoined two different

congressional districting plans that had been adopted by the Alabama Legislature


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following the 2020 census. The three-judge court found that both the Legislature’s

2021 plan and 2023 plan likely violate the Voting Rights Act, see Milligan v. Merrill,

582 F. Supp. 3d 924 (N.D. Ala. 2022), and Milligan v. Allen, 690 F. Supp. 3d 1226

(N.D. Ala. 2023). The former decision was upheld in full by the U.S. Supreme Court,

see Allen v. Milligan, 599 U.S. 1, 22 (2023), and the latter was left in place after the

Court declined to stay the injunction, see Allen v. Milligan, 144 S. Ct. 476 (2023).

      72.    Alabama has a majority-vote requirement in all primary elections.

      73.    Before the Civil War, Black people were barred from voting in the state.

After the passage of the Reconstruction Acts and Amendments, Alabama was forced

to allow Black men access to the franchise, and the 1867 Alabama Constitution

granted every male person over the age of 21—who satisfied the citizenship and

residency requirements—the right to vote. This meant that for the first time in

Alabama’s history, Black people voted and held public office. Women of all races

remained disenfranchised.

      74.    In response, white leaders reformed the Democratic party with the

intent of “redeeming” the State and re-establishing white supremacy. This was

accomplished by using violence to deter Black people from political participation

and, once the Redeemers returned to political office, to pass racially discriminatory

laws to cement their control.




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      75.    In 1874, Democratic candidates were elected to public office in large

numbers. On election day, in Eufaula, Alabama, members of a white paramilitary

group known as the White League, killed several unarmed Black Republican voters

and turned away thousands of voters from the polls.

      76.    The following year, in 1875, the Alabama Legislature adopted a new

State Constitution and passed a series of local laws and ordinances designed to strip

Black Americans of the civil rights they enjoyed briefly during Reconstruction.

      77.    At the 1901 Constitutional Convention, 155 white male delegates

gathered in Montgomery with the express intention “to establish white supremacy

in the State.”

      78.    The Convention ratified changes to the constitution that required

literacy tests as a prerequisite to register to vote and mandated payment of an annual

$1.50 poll tax, which was intended to and had the effect of disenfranchising Black

voters. United States v. Alabama, 252 F. Supp. 95, 99 (M.D. Ala. 1966).

      79.    After the United States Supreme Court invalidated white-only

primaries in 1944, Alabama passed the “Boswell Amendment” to its Constitution in

1946, adding an “understanding requirement” meant to give registrars broad

discretion to deny African Americans the ability to register to vote.




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      80.    After a federal court invalidated the Boswell Amendment in 1949,

Alabama replaced its understanding requirement with a literacy test, again with the

purpose of preventing African Americans from registering to vote.

      81.    After the Supreme Court outlawed the white primary in 1944, many

Alabama counties shifted to at-large elections, the intent of which was to prevent

African Americans from electing their candidates of choice.

      82.    In 1951, Alabama enacted a law prohibiting single-shot voting in

municipal elections, the intent of which was to prevent African Americans from

electing their candidates of choice.

      83.    In 1957, Alabama transformed the boundaries of the city of Tuskegee

into a twenty-eight-sided figure designed to fence out African Americans from the

city limits and ensure that only white residents could elect city officials. Gomillion

v. Lightfoot, 364 U.S. 339 (1960).

      84.    In 1964 and 1965, Dallas County Sheriff Jim Clark, Alabama state

troopers, and vigilantes violently assaulted peaceful Black protesters attempting to

gain access to the franchise.

      85.    On March 7, 1965, in what became known as Bloody Sunday, state

troopers viciously attacked and brutally beat unarmed peaceful civil rights activists

crossing the Edmund Pettus Bridge in Selma, where less than 5 percent of Black

voters were registered to vote. Bloody Sunday helped pave the way for the passage


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of the Voting Rights Act in 1965 and Alabama was declared a “covered” state under

Section 4(b) of the Act.

      86.    No person involved in the historical events described above

(paragraphs 73 through 85) had a primary role in drawing the 2021 Senate map.

      87.    Between 1965 and 2013, at least 100 voting changes proposed by

Alabama State, county, city or political party officials were either blocked or altered

pursuant to Section 5 of the Voting Rights Act. No objection was raised after 2008.

The last sustained objection to an Alabama state law occurred in 1994.

      88.    Alabama was the first state ever to be subjected to a statewide

injunction prohibiting the state from failing to disestablish its racially dual school

system. Lee v. Macon Cnty. Bd. of Ed., 267 F. Supp. 458 (M.D. Ala.), aff’d 389 U.S.

215 (1967). The order resulted from the court’s finding that the State Board of

Education, through then-Governor George Wallace, had previously wielded its

powers to maintain segregation across the state. Id.

      89.    A trial court found that for decades, state officials ignored their duties

under the statewide desegregation order. See Lee v. Lee Cnty. Bd. of Educ., 963 F.

Supp. 1122, 1128-30 (M.D. Ala. 1997). A court also found that the state did not

satisfy its obligations to remedy the vestiges of segregation under this order until as

late as 2007. Lee v. Lee County Bd. of Educ., 476 F. Supp. 2d 1356 (M.D. Ala. 2007).




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      90.    In 1991, a trial court in Knight v. Alabama, 787 F. Supp. 1030 (N.D.

Ala. 1991), found that Alabama had failed to eliminate the lingering and continued

effects of segregation and discrimination in the University of Alabama and Auburn

University, and at the state’s public Historically Black Colleges and Universities

(HBCUs).

      91.    In 1995, the trial court issued a remedial decree analogous to the

statewide injunction issued in Lee v. Macon, and the court oversaw implementation

of that order for over a decade. Knight v. State of Ala., 900 F. Supp. 272 (N.D. Ala.

1995). Alabama did not satisfy its obligations under that order until 2006. Knight v.

Alabama, 469 F. Supp. 2d 1016 (N.D. Ala. 2006).

      92.    Judge Bill Lewis is an African-American jurist who currently serves on

the Alabama Court of Civil Appeals after his appointment earlier in 2024. Before

joining the statewide appellate court, Judge Lewis was Presiding Judge of the 19th

Judicial Circuit, where he served as a circuit judge since 2016, when he was

appointed. He was originally appointed to the 19th Judicial Circuit in October 2016

and was then elected to that position in 2018 and 2024 after running unopposed in

both the 2018 and 2024 Republican Primaries, and the 2018 general election.

      93.    There are currently no Black statewide elected officials in Alabama

regardless of political party. Judge Lewis is a Black statewide official, but he was

appointed to his position in 2024 and has not run in any election for that office.


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      94.    Only one Black person has ever been elected to statewide office in a

contested election in Alabama. In 1982 and 1988, the late Justice Oscar W. Adams,

Jr. was elected in contested elections to two consecutive terms, after first being

appointed. In 1994, Justice Ralph D. Cook won an unopposed statewide election,

after first being appointed.

      95.    In 2000, both Justice Cook and the then-recently appointed Justice John

England, both Black Democrats, lost elections to white Republican candidates. All

white Democrats running for a seat on the appellate courts in 2000 lost their election,

with the exception of Sue Bell Cobb.

      96.    In 2002, the only two Democrats elected to statewide office in Alabama

were Lucy Baxley as Lieutenant Governor and Nancy Worley as Secretary of State.

Both were white women.

      97.    In 2006, only three Democrats were elected to statewide office in

Alabama: Sue Bell Cobb, to the Alabama Supreme Court, and Jan Cook and Susan

Parker, both to the Alabama Public Service Commission. All three were white

women.

      98.    In 2008, Lucy Baxley was the only Democrat elected to statewide office

in Alabama.     She was elected as President of the Alabama Public Service

Commission.




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      99.     In 2017, Doug Jones, a white Democrat, was elected to the U.S. Senate

in Alabama during a statewide special election to fill a vacancy in the office.

      100. In 2018, Black Democratic candidates in Alabama for Lieutenant

Governor, State Auditor, and the Public Service Commission lost statewide general

elections to white Republican candidates. The Black Democratic candidates had less

donations and less funding than their white Republican opponents.

      101. In 2022, Black candidates in Alabama for U.S. Senator, Governor,

Attorney General, Secretary of State, and State Supreme Court lost statewide general

elections to white candidates. Each of the Black candidates ran as a Democrat, had

less donations and less funding than their white opponents, and was defeated by a

Republican.

      102. Since the start of the Twentieth century, Alabamians have never elected

a Black person to Congress outside of the majority-Black district 7, and only since

1992 when a court order first established district 7 as a majority-Black district.

      103. Kenneth Paschal is a Black Republican who currently represents

District 73 in the Alabama House of Representatives. District 73 includes Shelby

County and has an 84.1% white Voting Age Population (VAP). He is the only Black

Republican in the State House. There are currently no Black Republicans in the state

Senate or in any statewide positions to which they were elected.




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      104. In order to fill a vacancy for HD 73, a special Republican Primary was

held on March 30, 2021, in which five candidates participated. In this contest,

Paschal finished second to Leigh Hulsey, a white candidate. With no candidate in

the primary having received a majority of the vote, Paschal and Hulsey were forced

into a runoff. Paschal defeated Hulsey 51.1% to 48.9% in the runoff, with Paschal

receiving 1,476 votes, while Hulsey receiving 1,412 votes.

      105. Paschal faced a white Democrat, Sheridan Black, in the Special General

Election on July 13, 2021. In this contest, Paschal won with 74.7% of the vote to

25.1% for Black, with Paschal receiving 2,743 votes, and Black receiving 920 votes.

Representative Paschal then ran unopposed and was reelected as representative for

House District 73 in 2022.

      106. In the 2024 Republican primary election for Alabama’s U.S.

Congressional District 2, the four Black candidates in the race—Belinda Thomas,

Wallace Gilberry, Karla DuPriest, and Stacey T. Shepperson—finished 5th, 6th, 7th

and 8th places out of 8 candidates, respectively, behind four white candidates and

together received 6.2% of the total vote. Gilberry dropped out of the race prior to the

election. The white candidates who performed better included a current State

legislator (Greg Albritton), a former State legislator and local business owner (Dick

Brewbaker), a lawyer who invested heavily in her own campaign (Caroleene

Dobson), and a 2018 college graduate who is a real estate broker (Hampton Harris).


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The Black candidates who stayed in the race were all small business owners, and

one (Belinda Thomas) serves on the Newton City Council and served on the State

Republican Executive Committee. Another Black candidate (Karla DuPriest) served

as Mobile County’s absentee ballot manager, and the third (Stacey T. Shepperson)

as a community college professor.

        107. In the 2024 Republican primary election for Alabama’s U.S.

Congressional District 3, Black candidate Barron Rae Bevels finished in third place

behind two white candidates, receiving 5.6% of the vote. Mike Rogers—the

incumbent who has represented District 3 since 2003 and is current Chair of the

House Armed Services Committee—won the primary election with 81.86% of the

vote.

        108. In campaign finance reports, Bevels reported receipts of $270.00 and

disbursements of $3,816.65. The winner of that election, Mike Rogers, reported

receipts of $2,230,032.16 and disbursements of $1,547,906.78.1

        109. In the 2024 special Republican primary election for Alabama State

House District 27, Black candidate Billy Ray Todd finished fifth of six, behind four

white candidates, receiving 8.7% of the vote.




   1

https://www.fec.gov/data/candidates/house/?q=H2AL03032&q=H4AL03087&election_year=20
24&election_full=True

                                        23
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        110. In state campaign finance disclosures, Todd reported cash contributions

of $3,743.70 and expenditures of $2,521.22. 2 The winner of the primary election,

Jeana Ross, reported cash contributions of $167,394.00, other receipts of

$11,234.21, and expenditures of $169,616.69.3 Ross had previously served as the

Alabama Secretary of Early Childhood Education.

        111. In the 2022 Alabama Republican U.S. Senate primary, Black candidate

Karla DuPriest finished fifth behind four white candidates, receiving 0.9% of the

vote.

        112. DuPriest reported receipts of $4,900.00 and disbursements of

$4,900.00. Katie Boyd Britt, the winner of the primary election, reported receipts of

$11,452,928.70 and disbursements of $9,744,197.22. 4          Additionally, Britt was

endorsed by the long-term incumbent Senator Richard Shelby.

        113. In the 2010 Republican primary election for Alabama’s U.S.

Congressional District 5, Black candidate Les Philip finished third behind the two

white candidates, receiving 15.8% of the vote.


   2

https://fcpa.alabamavotes.gov/PublicSite/SearchPages/CommitteeFinancialSummary.aspx?Com
m=31104
   3

https://fcpa.alabamavotes.gov/PublicSite/SearchPages/CommitteeFinancialSummary.aspx?Com
m=31125
   4

https://www.fec.gov/data/candidates/senate/?q=S2AL00145&q=S2AL00228&election_year=20
22&cycle=2022&election_full=true

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        114. Philip reported no campaign donations for that race. Parker Griffith, the

incumbent, reported receipts of $1,453,210.63 and disbursements of $1,509,989.43.

Mo Brooks, who won that election, reported receipts of $961,210.63 and

disbursements of $910,790.40.5 Brooks had served in the Alabama House of

Representatives and later on the Madison County Commission.

        115. According to National Exit Poll data, in Alabama, the average Black

support for Democratic Party Presidential, U.S. Senate, and gubernatorial candidates

between 2008 and 2022 was 92.4%.

        116. When the Voting Rights Act (VRA) was first passed in 1965, there were

no Black legislators in either chamber of the Alabama Legislature. In 1981, sixteen

years later, 8.6% of State Senate seats and 12.4% of State House seats were held by

black legislators.

        117. In 2024, 20.0% of State Senate seats and 24.8% of State House seats in

Alabama are held by Black legislators. All but one of these Black House members

are elected from majority-Black districts. All Black Senators are elected from

majority-Black districts.




   5

https://www.fec.gov/data/candidates/house/?q=H0AL05163&q=H8AL05109&election_year=20
10&election_full=True
                                          25
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      118. At the time the VRA was enacted in 1965, Black voter registration in

Alabama was 23.5%. By 1982, Black voter registration had increased 34-points to

57.7%.

      119. Of the 11 Montgomery and Huntsville “Black preferred candidates”

(BPC) outlined in the partisan general elections in Dr. Baodong Liu’s expert report,

all eleven - Yolanda Flowers, Will Boyd, Wendell Major, Pamela Lafitte, Anita

Kelly, Mr. Boyd again, Miranda Joseph, Cara McClure, Lula Albert-Kaigler, James

Fields, and Ms. Joseph again – are Black and ran as Democrats, while all of the

“white preferred candidates” (WPC) are White and ran as Republicans.

      120. It was not until 2010 that Republicans won a majority in the Alabama

State Legislature.

      121. More than half of Alabamians reported going to religious services at

least once a week, which is well above the national average.

      122. In a 2014 survey, 57% of Alabama respondents opposed the legal

recognition of same-sex marriage. Among Black Alabamians, 47% opposed same-

sex marriage and 45% supported it. Among White Alabamians, 62% opposed same-

sex marriage and 28% supported it.

      123. In 2006, Alabama voters approved Amendment 774, also known as the

“Sanctity of Marriage Amendment.”




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      124. Among its provisions, Amendment 774 said, “[m]arriage is inherently

a unique relationship between a man and a woman” and therefore, “[a] marriage

contracted between individuals of the same sex is invalid in this state.”

      125. Amendment 774 further specified that, “The State of Alabama shall not

recognize as valid any marriage or parties of the same sex that occurred or was

alleged to have occurred as a result of the law of any jurisdiction regardless of

whether a marriage license was issued.”

      126. Alabama voters passed Amendment 774 by an overwhelming margin,

81%-19%.




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DATED this 24th day of October 2024.

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with the Clerk of the Court using the CM/ECF system which will send notification

of such filing to counsel of record in this case.


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